Case 2:96-cr-20173-.]PI\/| Document 61 Filed 07/26/05 Page 1 of 2 Page|D 14

ease e'~' IQMF r:>.c.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE : 2
Western Division 05 JUL 25 PH lt 2

UNITED STATES OF AMERICA

-vs- Case No. 2:§6cr20173-Ml /

97-20128-Ml

 

NAPOLEON FROST

 

ORDER OF DETENTION PENDING TRIAL
F|ND|NGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to Wit, the defendant is serving a sentence from another case.

*** Probable Cause brg set Friday July 29, 2005 @ 10:00am in CR #5***
DlRECT|ONS REGARD|NG DETENT|ON

NAPOLEON FROST is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. NAPOLEON FROST shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceedingl

naze: Juiy 26, 2005 AN_AA/iw {. //LQ”M

DIANE K. vescovo
UNITED sTATEs MAGISTRATE JUDGE

 

this document entered on the docket Sheet In compliance
mm ante se and/or satb) FRch on “ ’ ‘

 

   

UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:96-CR-20173 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

